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uNlTED sTATEs DisTRlcT couRT am ,_¢_~.§. J-N
wEsTERN DlsTRicT oF TENNEssEE "' ~~ - D.C.
MEMPl-lls DlvlsioN 05 JUL , l PH 12_ 00
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l§f`ri‘»;; 6 `-
"" 2:03cR-20103-o1-M1 ill-il- 3»--\:. .=,-.'5='=,:P,$lgw
JEREMY leTH

K. Jayaraman, CJA
Defense Attorney

147 Jefferson Avenue, #804
Memphis, TN 38103

 

*A-M-E-N-D-E-D JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant was found guilty on Count 1 of the lndictment on November 14, 2003.
Accordinglyl the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Title & section MIPML\§§_ offense M@
Q_<M
18 U.S.C. § 922(g) Felon in Possession of A Firearm 10/22)'2002 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residencel or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 11/30/1971 |Vlarch 17, 2004
Deft's U.S. Marshal No.: 18943-076

Defendant’s lVlailing Address:
7507 C|overhaven Street
Nlillington, TN 38053

_. ON PH|PPS MCCALLA
U ` |TED TATES D|STR|CT JUDGE
Ju|y , 2005

Thls document entered on the docket sheet in com liance

with nu\e 55 and/or 320@) mch on 7 ~[rZ-D

 

  

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Case No: 2:030R20103-01-Ml Defendant Name: Jeremy SM|TH Page 2 of 5
lMPRlSONMENT
The defendant is hereby committed to the custody of the United States Bureau of c

Prisons to be imprisoned for a term of *76 Months for 6 Years and 4 Monthsl.
The Court *strongly recommends to the Bureau of Prisons:

1 *Participation in the 500-hour intensive drug and alcohol treatment program by the
defendant while incarcerated

The defendant is remanded to the custody of the United States Marshal.

RETU RN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marshal

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Case No: 2:030R20103-0‘i-M| Defendant Name: Jeremy SM|TH Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. §921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|SION

i. The defendant shall not leave thejudicial district withoutthe permission of the court or probation ofhcer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shaii answer truthful ali inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchasel possess, use,

distributel or administer any narcotic or other controlled substancel or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed, or administered;

B. The defendant shall not associate with any persons engaged in criminal activity, and shall notassociate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation ofncer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ocher;

10. The defendant shall notify the probation ofhcer within 72 hours of being arrested or questioned by a

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Case No: 2:O3CR20103-01-M| Defendant Name: Jeremy SM|TH Page 4 of 5
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Criminai Monetary Penaities sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

1. The defendant shall submit to drug testing and drug treatment programs as directed by the
Probation Office.

2. The defendant shall submit to mentai health testing and mental health treatment programs
as directed by the Probation Office.

3. The defendant shall participate in domestic violence classes as directed by the Probation
Office.

*4. *The defendant shall cooperate with DNA collection as directed bv the Probation Officer.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|i of the payment options in the Scheduie of Payments may be subject to
penalties for default and deiinquency pursuant to 18 U.S.C. § 3612(9).

Totai Assessment Total Fine Total Restitution
$‘i 00.00

The Special Assessment shaii be due immediately.

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Case No: 2:030R20103-01-M| Defendant Name: Jeremy SM|TH Page 5 of 5

FiNE
No fine imposed.
REST|TUT|ON

No Restitution was ordered.

   

UNITED sTATE DRISTIC COUR - WTERN DSTRIC OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 64 in
case 2:03-CR-20103 Was distributed by faX, mail, or direct printing on
July ]2, 2005 to the parties listed.

 

 

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

K. Jayaraman

LAW OFFICES OF K. JAYARAMAN
147 Jefferson Avenue

Ste. 804

Memphis7 TN 38103

Honorable Jon McCalla
US DISTRICT COURT

